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                   EXHIBIT A
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                                             DEPARTMENT OF THE TREASURY
                                                   INTERNAL REVENUE SERVICE
                                                     WASHINGTON, D.C. 20224

        Criminal Investigation
                                                        July 31, 2009




               MEMORANDUM FOR COLLEEN ANDERSON, SPECIAL AGENT
                              PORTLAND FIELD OFFICE, CI:06

               FROM:                   Richard Smith, Special Agent
                                       Portland Field Office, Cl:06

               SUBJECT:                Sedaghaty Computer Images                        V




                         I, Richard Smith, am a Special Agent of the Internal Revenue Service Criminal
    V



                 Investigation Division and have been so employed since 1994. Additionally, i this                           V




               • capacity, I have been collaterally assigned as a Computer Investigative Specialist                      V




                 since 2001. My responsibilities under this assignment include participating in search
              • warrants to seize andlor image oh-site computers in order to obtain and preserve
V                digital evidence of potential
                                             crimes.
                                                        V
                                                                                                    V
                                                                                                          V




                         During the execution of an IRS search warrant on February 18, 2004, nine
                 computers cOntaining Vten   hard drives were seized Vby me from the AI-Häramain office
                 lo’catOd,at 3800 S. Highway 99, Ashland, OR. The imaging of the hard drives began
                 February 26: and continued through March 4, 2004. The analysis and processing of
          V

                 the images began on March 5 and continued while I worked on other assigned                                      V




                 investigations during that time.
                                                            V


                                                    V
                                                                        V
                                               V



                                                                                            V




                       V A number of floppy disks were also seized during the search warrant and
                          V




                 reviewed by myself and ‘Special Agent Colleen Anderson on March 9. On thét date,
                 child pornography was discovered on a’floppy disk and was reported to Assistant U.S.
V
                 Attorney Chris Cardani. No identifying information was found on the floppy to indicate
          V

                 whether it belonged to Sedaghaty or to somebody else in the house..                                 V




                         On March 10, I attempted to process the hard drive d’eignated Seda 7 and was
                 unable to map any files, indicating that the drive had beenerased. Files were later
                 salvaged from this drive as described below. also proCessed’ Seda 8 and Seda 9 on
    V




                                                                    V




                 this date. However, 1 was unable to save the mapping data onSedá 9 and was again
                 unableto save the mapping data in an additional attempt on March 24. This problem
                 was later resolved by mapping the drive in an updated version of the forensic
                 software, as described below.
                                                                                    V




                                                               :                V




                         On March 11, I transferred custody of four of the computers to SA Anderson to
                 be returned to Al-Haramain. Also on this date, I completed an initial review of the hardV
                 drive designated Seda 6, copied evidentiary files to CD and mailed them to SA
                 Anderson. I also completed the initial review ofVSeda 10 but found nothing of
                 evidentiary value.
                                                                                                V

                                                            V



                                                                •




                         On March 15, Icompleted my initialVreview of the hard drive designated Seda 4.
                                                                            V




                 Nothing of evidentiary value was located on this drive.
                         On March 30, partition carves were begun in an effort to locate evidence that
                 had either been intentionally erased or unintentionally corwpted. This forensic data
                                                                                                              2753
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                                                      2

        recovery procedure was done because several of the computers seized either would
        not boot up at all or. had most or all of their files deleted or erased. The salvages were
        completed as follows (using the designated names for each hard drive): Seda 7,
    • March 30; Seda 8, Seda 9, and Seda 10 (March .31); Seda 6 (April 5); Seda 2, Seda 3,
        and Seda 4, April 6; and Seda 1, April 8. (Note: A partition salvage was not
        conducted on Seda 5 as it was a voice mail system with no other filós contained on it.)
•
           .    On April 1, I drove to Medford to Work with SA Anderson on the analysis of the
        images. On April 2, she and I interviewed Chuck Whitely, the owner of a voice mail
        company, Business Telecom, that had set up the voice rhail system on Seda 5.
        Whiteley showed us how to retrieve the voice mails on the system, but the messages
        retrieved were not relevant to the investigation.
                On April 6, I attempted to recover the password from a word document, but the
        password breaking program (PRTK) failed to disclose the password. The passworded
        document was fonivarded to the computer lab in Virginia where the password was
      • cracked using “brute force.” The document, however, did not provide any eyidentiary
        leads..                    .     .   .




               ‘On April 12, I completed my initial review of the two computers. designated
        Seda I and Seda 2. Both computers contained numerous pornographic images but
        nothing of evidentiary value. Also on this date, I transferred custody of the remaining
        five computers in my possession to SA Anderson to return to Al-Haramain.
                On April 13, I completed my initial review of the computer designatedSeda 3.
        Onceagain, thousands of pornographic images were located but nothing of
        evidentiary value.                       ..




                I continued to conduct partition salvages, and on. April 15 returned to Medford
        to work with SA Anderson again. I returned again to Medford on April 21 to perform
        additional review wOrk there. I returned to Medford again on May 6 to set up a
        forensic platform on an additional computer for evidence reviewing purposes.
                From this point, the work on the computers involved reviewing individually the
        tens of thousands of salvaged files. Much of this review was conducted using
        hexadecimal viewing, which involves paging through thousands of pages of computer
        language to find fragments of files.
                On July 14, numerous photos of Chechen war battle scenes were tagged,
        which were mailedto SA Anderson on July 15.
                On July 20,.L drove to Medford to continue working with SA Anderson. On July
        21, we set up a computer as an evidence viewing platform in FBI space in Medford.
                On July 23, I remapped the computer designated Seda 9 through ILook version
        8 after it had failed to save the mapping data with lLook version 7 (which had been
        used on all the other hard drives). On August 2, the sector salvage of this drive
        crashed and necessitated restarting the salvage as a sector-by-sector search..
                On August 3, I set up a computer forensic platform for evidence review in the
        FBI office in Bend: This computer was later returned to SA Anderson.
                On August 12, I drove to Medford to set up a new evidence platform in IRS-Cl
        space with a copy of the Seda 9 image installed and trained SA Anderson in the use
        of ILook8.
                On September 9, I retrieved the folder of Chechen war photos previously
        tagged and burned the photos to CD to give to SA Anderson.
                After this, forensic work on the images.was conducted by Jeremy Christianson,
        as detailed in his affidavit.

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                                            3

       If you have any questions or if I can be of any further assistance, please call me
at 541-322-4018.




         V
                                                Richard Smith
                                                Special Agent       V




                                                                        V




Attachments: None                                               V
                                                                                           V




                                                                               2755
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                   EXHIBIT B

      FILED UNDER SEAL
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                   EXHIBIT C
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                                    DEPARTMENT OF THE TREASURY
                                        INTERNAL REVENUE SERVICE
                                          WASHINGTON, D.C. 20224

Cr1 mial InvestIgation
                                             August 4, 2009




        MEMORANDUM FOR COLLEEN ANDERSON, SPECIAL AGENT
                       PORTLAND FIELD OFFICE, CI:06

        FROM:                 Jeremy Christianson, Computer Forensics Manager
                              U.S. Commodity Futures Trading Commission

       SUBJECT:               Sedaghaty Computer Images


              I, Jeremy Christianson, am currently serving as the Computer Forensics
       Manager for the U.S. Commodity Futures Trading Commission. Formerly, during the
       time period of October 2005 to July 2009, served as a Senior Investigative Analyst for
       the Internal Revenue Service Criminal Investigation Division. My responsibilities as a
       Senior Analyst in the Electronic Crimes program included providing computer forensic
       analysis in support of criminal investigations for the Special Agent Computer
       Investigative Specialists (CIS) in the field. I was also the program manager for digital
       forensics in the Technology & Support Center (TSC) research section.

               On January 22, 2008 I began assisting Special Agent Colleen Anderson and
        CIS Richard Smith in the forensic examination of hard drive images derived from
        computers seized from the al-Haramain office located at 3800 S. Highway 99,
        Ashland, OR. Special Agent Anderson requested that I examine the hard drive images
        and identify any financial related information to include data files for software to
        include QuickBooks and Quicken, any erñail correspondence, and any information
        related to or referencing the Mujahedeen.

              I focused my examination primarily on the evidence items Seda6,..7, 8, 9, and
        10 Based on consultation with SA Anderson and CIS Smith, it was determined that
        evidence items Sedal, 2, 3, 4, and 5 did not appear to contain data of evidentiary
        value pertaining to this case. I conducted my examination using EnCasev6 forensic
        software.

        SEDA6

              Examination of evidence item Seda6 revealed fifty four (54) active and deleted
        QuickBooks files which were provided to SA Anderson for further analysis.




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                                              2


        A Microsoft Access database named “to soliman 10-16-99.rndb,” containing
financial information related to Al-Haramain, was identified as relevant to the case by
SA Anderson. The recovery location of this database can be referenced in Appendix A
of this memorandum.

        Twenty one (21) email messages contained in a deleted Microsoft Outlook PST
file named. “ARCHIVE.PST” were identified as relevant to the case. The email content
of this PST archive was a copy of only the “Sent Items” folder from another email
archive. The recovery location for this PST file can be referenced in the memorandum
of activity dated 14 April2009. The recovery locations and metadata of these emails
can be referenced in Appendix B of thismemorandum.

SEDA7

        Examination of evidence item Seda7 revealed it contained no active files on the
existing partition. A process was used in EnCase to recover (undelete) any pre
existing folders and files. Windows registry artifacts from the recovered folders and
files indicate there was a pre-existing Windows operating system on the hard drive.
Based on the recovered files it appears that the last activity on the hard drive was
aroUnd February 2003.

SEDA8

        Examination of evidence ifem Seda8 revealed Internet related activity related to
“qoqaz.” The following Internet history records were recovered from unallocated space
indicating that this computer. was used during the time period of 17 JAN 2000 to 24
JAN 2000 to visit www.qoqaz.com and www.qoqaz.net:

Start Date   .   End Date     PrOfile Name   URL Name
01/17100         01/18100     a              http://www.qoqaz.net!htmllchechnyaprofiles. htm
01/1 7100        01 /1 8/00   a              http://www.qoqaz.com/map.htm
01/17/00         01/18/00     a              http:Ilwww.qoqaz.com
01/17/00.        01/18/00     a              http://www.qoqaz.com/maps/attack.gif
01/17/00         01/18/00     a              http://www.qoqaz.com/maps/chechnya.jpg
01/17/00         01/18/00     a              http://www.qoqaz.netlhtml/chechnyaphotos .htm
01/24/00         01/25/00     a              http://www.qoqaz.net
01/24/00         01/25/00     a              http:/Iwww.qoqaz. netlhtml/chechnyainterviews. htm
01/27101         01/28101     a              http://www.qoqaz.net
01/27/01         01/28/01     a              www.qoqaz.net
01/24/00         01/25/00     a              http://www.qoqaz.net/html/chechnyafacts.htni
01/24/00         01/25/00     a              mailto:qoqaz3@yahoo.com
01 /24/00        01/25/00     a              mailto:qoqazyahoo.com
01/10/00         01/17/00     a              www.qoqaz.com
01/10/00         01/17/00     a              http://www.qoqaz.com/fatwa.htrn

SA Anderson identified twenty (20) HTML web pages from the website of Azzam
Publications referencing the Jihad in Chechnya as relevant to the case. These web
pages were recovered from unallocated space on Seda8. The recovery locations of
these web pages can be referenced in Appendix A of this memorandum.



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                   EXHIBIT D
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AttorneyS for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                      CR 05-60008

                                   Plaintiff,   AFFIDAVIT OF INVESTIGATOR
                                                JOSEPH LEE
                     V.

 PIROUZ SEDAGHATY,

                                 Defendant.



STATE OF OREGON            )
                           )ss.
County of Multnomah        )

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       I, Joseph Lee, being first duly sworn, depose and say:

       1.     I am employed by the Federal Public Defender in the capacity of

Investigator. I am assigned by the Federal Defender to serve as a member of the team

representing the defendant in the above matter, Pirouz Sedaghaty.

       2.     On or around January 29, 2009, in conversations with the Sedaghaty

defense team, I learned that there had been a possible surveillance camera located

across the road from the driveway into the former Al Haramain property which was

pointed at the former Al Haramain driveway, which is located at 3800 Highway 99

South, Ashland, Oregon.

       3.     On July 7, 2009, accompanied by Mr. Sedaghaty, his wife, Summer, and

his son, Jonah, I went to the area in which the camera had been observed. In

conversations with Mr. Sedaghaty and his son, I learned that, while the camera was on

site, they found an electrical wire or cable that seemed to run from the camera, east to

an irrigation ditch, then north to a culvert, east through the culvert under the railroad

bed, and continuing east toward the fence line of the north end of the property identified

as 3701 Highway 99 South, Ashland, Oregon.

       Along the railroad right of way, and just east of the culvert, I observed an

above-ground section of what appears to be some sort of rubber or plastic coated wire

or cable, consistent with that described, which appears to lead from the property

located at 3701 Highway 99 South, Ashland, Oregon, (the property across the road

from the former Al Haramain), west toward the former Al Haramain property.

       4.     In a conversation on September 23, 2009, with Robert Fredinburg, the

owner of the property located at 3701 Highway 99 South, Ashland, Oregon, I was told

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that Mr. Fredinburg was aware of the camera pointed at the former Al Haramain

property, having been installed in front of his property. Mr. Fredinburg refused to tell me

with whom he had discussed the installation of the camera and/or who had installed the

camera, stating “I was told that I don’t have to discuss that with anyone.”

         5.    On October 8, 2009, I went back to the area of 3701 Highway 99 South,

Ashland, Oregon, and met with Ben Moore of Rogue Locating, a local underground

utilities locating service. From the railroad right of way, I showed Mr. Moore the above-

ground section of wire I had observed on July 7, 2009. I asked him: (1) whether or not

it was, in his opinion, any sort of public utility wire or cable; (2) to attempt to trace it’s

path toward the former Al Haramain property. Mr. Moore told me that the wire was

definitely not a public utility wire and was more consistent with wire used to power an

electric gate or a yard light and could be used to power a camera. Utilizing his locating

equipment, Mr. Moore traced the wire west approximately 45’ under the railroad bed

and toward the former Al Haramain property into the irrigation ditch, then south

approximate 100’ in the irrigation ditch, (mostly underwater), toward the location I had

been told the camera had previously been placed. The wire continued to the point

where the driveway into 3701 Highway 99 South crossed the irrigation ditch, where Mr.

Moore located the cut end of the wire. Mr. Moore checked the irrigation ditch beyond

where he found the cut end of the cable but could find no more cable.

         6.    After Mr. Moore left the scene, I took some photographs of the cable and

the scene. I then cut an approximate 7’ piece of the cable to take with me for

identification purposes.



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       7.     I took the piece of cable to Accurate Electronic Interiors INC, a local

business specializing in video and audio installation. One of their listed specialties is

“Security Cameras”. I showed the cable to technician Kevin Masterson, who told me

that he has been working in this field for the past 25 years. I asked him if he could tell

me what type of cable it is and what it is used for. Mr. Masterson first commented “It

looks like this has been out in the weather for a long time. There is quite a bit of UV and

water damage.” After peeling back the black outer rubberized plastic sheath, Mr.

Masterson showed me a white coated copper wire sheathed in braided copper and two

smaller red and black coated wires. Mr. Masterson told me that the cable is a piece of

“RG59 Coaxial CCTV cable, typically used with closed circuit TV.” Mr. Masterson

further explained that the larger white coated wire carries the video signal and the

smaller red & black wires carry the power. Mr. Masterson told me that this particular

cable carries no audio signal but also said that there is CCTV cable available today

which can carry an audio signal too.


                                          Josepee

Sworn to and subscribed before me this    c7 y of October, 2009.

                  LOVE
             •UC-OREGON
              NO. 425081
             G12
                            (              Commission expires on:         fo f i


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